         Case 15-13369            Doc 242        Filed 06/07/18 Entered 06/08/18 00:52:13                         Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                 District of Massachusetts
In re:                                                                                                     Case No. 15-13369-jnf
Andre Bisasor                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0101-1                  User: lkaine                       Page 1 of 1                          Date Rcvd: Jun 05, 2018
                                      Form ID: pdf012                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 07, 2018.
db             +Andre Bisasor,   119 Drum Hill Road,   #223,   Chelmsford, MA 01824-1505

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 07, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 5, 2018 at the address(es) listed below:
              David G. Baker    on behalf of Plaintiff David G. Baker
               bkecf@bostonbankruptcy.org;ecf@bostonbankruptcy.org
              David G. Baker    on behalf of Other Professional David G. Baker
               bkecf@bostonbankruptcy.org;ecf@bostonbankruptcy.org
              Dmitry Lev     on behalf of Defendant Andre Bisasor dlev@levlaw.net, ecf-notices@levlaw.net
              Dmitry Lev     on behalf of Debtor Andre Bisasor dlev@levlaw.net, ecf-notices@levlaw.net
              Donald F. Farrell, Jr.    on behalf of Trustee John Aquino dff@andersonaquino.com
              Donna Ashton     on behalf of Creditor   Greystar Management Services LP as agent for owner
               RAR2-Jefferson at Dedham Station MA Inc. dma@ashton-law.com
              John Aquino     jja@andersonaquino.com, jaquino@ecf.epiqsystems.com
              John Fitzgerald     USTPRegion01.BO.ECF@USDOJ.GOV
              John C. Ottenberg    on behalf of Creditor   Foley Hoag LLP ottenberg@odllp.com
              Michael B. Feinman    on behalf of Mediator Michael B. Feinman mbf@feinmanlaw.com,
               kmk@feinmanlaw.com
                                                                                              TOTAL: 10
         Case 15-13369 Doc 242 Filed 06/07/18 Entered 06/08/18 00:52:13 Desc Imaged
                                Certificate of Notice Page 2 of 2
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,Q5H                                         &DVH1XPEHU                      &K

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_____Granted_____Denied_____Approved_____Sustained
_____Denied_____Denied without prejudice_____Withdrawn in open court_____Overruled
_____OSC enforced/released
_____Continued to:__________________________For:______________________________________________
_____Formal order/stipulation to be submitted by:________________Date due:____________________
_____Findings and conclusions dictated at close of hearing incorporated by reference
_____Taken under advisement: Brief(s) due_______________________From_________________________
                              Response(s) due____________________From_________________________
_____Fees allowed in the amount of: $________________________Expenses of: $___________________
_____No appearance/response by:_______________________________________________________________
_____DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:


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IT IS SO NOTED:                                IT IS SO ORDERED:


______________________                         _______________________________Dated:__________
Courtroom Deputy
